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4
                            UNITED STATES DISTRICT COURT
5                          EASTERN DISTRICT OF WASHINGTON
6    UNITED STATES OF AMERICA,                       )
                                                     )
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                                                     )
                         Plaintiff,                  )      2:14-CR-168-TOR-1
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                                                     )
                                                     )
                 vs.                                 )      Preliminary Order of Forfeiture
9                                                    )
                                                     )
10
     ROBIN M. GRIFFITH,                              )
                                                     )
11     a/k/a “Robin Deluca,”                         )
       a/k/a “Robin Dobson,”                         )
12                                                   )
       a/k/a “Robin Kitchen,”                        )
13     a/k/a “Robin Roullier,”                       )
       a/k/a “Robin Stenson,”                        )
14                                                   )
                         Defendant.                  )
15                                                   )

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17         WHEREAS, the Defendant, ROBIN M. GRIFFITH, pled guilty pursuant to a
18   written plea agreement to one count of Conspiracy to Commit Bank Fraud, in violation of
19   18 U.S.C. §§ 1349 and 1344; and,
20         WHEREAS, pursuant to her plea agreement, the Defendant agreed to forfeit to the
21   United States the sum of $25,779.00 U.S. currency, representing the value of the
22   proceeds of the offense;
23         IT IS THEREFORE, ORDERED, ADJUDGED, and DECREED THAT:
24         1)    Pursuant to 18 U.S.C. § 982(a)(2), the Defendant shall forfeit to the United
25   States the sum of $25,779.90 U.S. currency, which shall be a money judgment
26   representing the value of the proceeds obtained from the Conspiracy to Commit Bank
27   Fraud violation alleged in Count 1 of the Indictment, to which the Defendant pled guilty.
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     Preliminary Order of Forfeiture - 1
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           2)     Pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1)
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     and 28 U.S.C. § 2461(c), the United States may seek forfeiture of any other property of
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     the Defendant up to the value of the forfeitable property listed above.
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           2)     The United States Postal Inspection Service and/or the United States
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     Marshals Service (and/or its agents) are authorized to seize this sum, whether held by the
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     Defendant or by a third party, and to conduct any discovery proper in identifying or
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     locating such property, in accordance with Fed.R.Crim.P. 32.2(b)(3).
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           3)     Because the forfeiture consists of a money judgment, no ancillary
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     proceeding is necessary as directed by Fed. R. Crim. P. 32.2(c)(1).
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           4)     This Court shall retain jurisdiction to enforce this Order, and to amend it as

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     necessary pursuant to Fed. R. Crim. P. 32.2(e).

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           DATED this 6th day of October, 2015.

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                                       THOMAS O. RICE
                                    United States District Judge
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     Preliminary Order of Forfeiture - 2
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